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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 ATS TREE SERVICES, LLC,

                 Plaintiff,

 v.
                                                        Case No.: 2:24-cv-1743-KBH
 FEDERAL TRADE COMMISSION; LINA
 M. KHAN, in her official capacity as Chair
 of the Federal Trade Commission; and
 REBECCA KELLY SLAUGHTER,
 ALVARO BEDOYA, ANDREW N.
 FERGUSON, and MELISSA HOLYOAK, in
 their official capacities as Commissioners of
 the FTC,

                 Defendants.


                              MOTION TO STAY PROCEEDINGS

        Plaintiff ATS Tree Services, LLC (“ATS”) respectfully requests that the Court stay all

proceedings in this case pending the earliest of the following events: (1) the expiration of time for

the Federal Trade Commission to file a notice of appeal of the final judgment in Ryan, LLC v.

FTC, No. 3:24-cv-00986 (N.D. Tex.) (the “Ryan Judgment”); (2) if the Commission appeals the

Ryan Judgment, a decision on the merits from the U.S. Court of Appeals for the Fifth Circuit; or

(3) any other event that changes the effectiveness of the Ryan Judgment as to ATS. ATS further

requests that the parties be required to submit a joint status report within 14 days of the earliest of

any of the aforementioned events addressing whether the stay should continue. Should Defendants

file a notice of appeal in Ryan, the parties should also be required to notify the Court via joint letter

within 3 days after the notice of appeal is filed. The Court in Ryan vacated the Commission’s Non-

Compete Clause Rule, 89 Fed. Reg. 38,342 (May 7, 2024) (the “Final Rule”), the legality of which
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is the subject of this case. Given that the Final Rule has been vacated, there is presently no Final

Rule for the parties to litigate. As such, a stay of this case is warranted unless and until the Ryan

Judgment becomes ineffective as to ATS to conserve the resources of the parties and the Court.

The Commission opposes the request for a stay, and intends to file an opposition setting forth the

basis for its position. ATS also intends to submit a letter request to continue for 14 days the current

briefing schedule for the parties’ cross-motions for summary judgment—under which ATS must

file its motion for summary judgment on September 20, 2024.

Dated: September 6, 2024.                      Respectfully submitted,

                                               /s/ Sean Radomski
                                               SEAN RADOMSKI
                                               Pennsylvania Bar No. 319732
                                               JOSHUA M. ROBBINS*
                                               PACIFIC LEGAL FOUNDATION
                                               3100 Clarendon Blvd.
                                               Suite 1000
                                               Arlington, Virginia 22201
                                               Telephone: (202) 888-6881
                                               SRadomski@pacificlegal.org
                                               JRobbins@pacificlegal.org

                                               LUKE WAKE*
                                               California Bar. No. 264647
                                               PACIFIC LEGAL FOUNDATION
                                               555 Capitol Mall, Suite 1290
                                               Sacramento, California
                                               Telephone: (916) 419-7111
                                               LWake@pacificlegal.org

                                               Attorneys for Plaintiff
                                               *admitted Pro Hac Vice




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                               CERTIFICATE OF SERVICE

       I hereby certify that on September 6, 2024, I electronically filed the foregoing with the

Clerk of the United States District Court for the Eastern District of Pennsylvania using the

CM/ECF system, which sent notifications of such filing to all registered CM/ECF users.



DATED: September 6, 2024.
                                                           /s/ Sean Radomski
                                                           SEAN RADOMSKI




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